              Case 1:07-cr-00016-AWI Document 38 Filed 04/24/07 Page 1 of 1


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 8                      IN THE UNITED STATES DISTRICT COURT FOR THE
 9                               EASTERN DISTRICT OF CALIFORNIA
10

11 UNITED STATES OF AMERICA,                      )    Criminal No. 1:07-cr-00016 AWI
                                                  )
12                Plaintiff,                      )
                                                  )
13 v.                                             )    ORDER TO CONTINUE
                                                  )    MOTION HEARING DATE
14 ALBERTO ESTRADA PEREZ, et al,                  )
                                                  )
15                Defendant.                      )
                                                  )
16

17                GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED that the motion
18 hearing now set for April 30, 2007, at 9:00 a.m. be re-calendared to May 14, 2007, at 9:00 a.m. Time is

19 deemed excludable pursuant to 18 U.S.C. § 3161(h)(1)(F).

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21 IT IS SO ORDERED.

22 Dated:     April 24, 2007                        /s/ Anthony W. Ishii
   0m8i78                                     UNITED STATES DISTRICT JUDGE
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